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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10    Robert NINTEMAN,                                Case No.: 18-cv-1222-MMA-AGS
11                                      Plaintiff,
                                                      ORDER GRANTING IN PART AND
12    v.                                              DENYING IN PART MOTION TO
                                                      CONTINUE FACT AND EXPERT
13    THE DUTRA GROUP, et al.,
                                                      DISCOVERY COMPLETION
14                                   Defendants.      DATES, MSC AND PRETRIAL
                                                      MOTION DATES (ECF No. 60)
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17          The Court grants in part and denies in part the parties’ joint motion to continue fact
18    and expert discovery completion dates and to generally amend the Scheduling Order. The
19    new dates are:
20                            Event                                 Deadline
             Expert Witness Designations and
21           Disclosures (limited to orthopedic and     November 2, 2020
22           neurology reports)
             Rebuttal Expert Witness Designations
23                                                      December 2, 2020
             and Disclosures
24           Fact Discovery Completion                  December 23, 2020
             Expert Discovery Completion                December 23, 2020
25
             MSC Statements                             January 6, 2021
26           Mandatory Settlement Conference            January 13, 2021, at 9:00 a.m.
             Pretrial Motions                           February 3, 2021
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 1          After granting four extensions to the scheduling order (see ECF No. 37, at 1;
 2    ECF No. 42, at 1; ECF No. 44, at 1; ECF No. 46, at 1), the Court reminded the parties that
 3    “no further extensions will be granted absent exceptional circumstances.” (ECF No. 46.)
 4    While the parties’ proffered reasons do not meet this standard, the Court nevertheless finds
 5    good cause for a somewhat shorter extension of the schedule. No further extensions will
 6    be granted absent exceptional circumstances.
 7    Dated: October 19, 2020
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